Case 8:15-cv-01873-MSS-TBM Document 14 Filed 10/27/15 Page 1 of 1 PageID 49



                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

DAVID RUBIN, an individual, on
behalf of himself and all others
similarly situated,

           Plaintiff,

v.                                                              Case No: 8:15-cv-1873-T-35TBM

CENTER FOR EXCELLENCE IN
HIGHER EDUCATION, INC.,

           Defendant.


                             ORDER OF DISMISSAL WITH PREJUDICE

           Upon consideration of the Plaintiff’s1 Notice of Voluntary Dismissal with Prejudice,

(Dkt. 13) and pursuant to Fed.R.Civ. P. 41, it is hereby

           ORDERED that this case is dismissed with prejudice.           The Clerk is directed to

terminate any pending motions and CLOSE this case.

           DONE and ORDERED in Tampa, Florida, this 27th day of October, 2015.




Copies furnished to:
Counsel of Record
Any Unrepresented Party




1
    There are no opt-in Plaintiffs listed on the case docket.
